Case 1:18-cv-03713-TWP-MJD Document 42 Filed 12/18/18 Page 1 of 3 PageID #: 616



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


 JOHN DOE,                                            )
                                                      )
                               Plaintiff,             )
                                                      )
                          v.                          )       No. 1:18-cv-03713-TWP-MJD
                                                      )
 INDIANA UNIVERSITY - BLOOMINGTON,                    )
                                                      )
                               Defendant.             )




                      MINUTE ENTRY FOR DECEMBER 18, 2018
                            DISCOVERY CONFERENCE
                    HON. MARK J. DINSMORE, MAGISTRATE JUDGE


        The parties appeared by telephone for an on-the-record Discovery Conference to address

 a discovery dispute. Plaintiff seeks the production by Defendant of all Sexual Misconduct

 Hearing Panel decisions for the period July 1, 2017 to the present as responsive to Plaintiff’s

 request for production no. 5. After hearing the arguments of the parties, the Court will treat the

 dispute as Plaintiff’s motion to compel the production of the requested documents; for the

 reasons more fully set forth on the record of the conference, which are incorporated by reference

 as though fully set forth herein, that motion is GRANTED.

        Defendant is ordered to produce all written decisions of its Sexual Misconduct Hearing

 Panel for the period July 1, 2017 to the present (Defendant represented that fifteen such decisions

 exist) for receipt by Plaintiff’s counsel by no later than 10:00 a.m. (Eastern) on Thursday,

 December 20, 2018. Responsive information shall be served as set forth in paragraph 3 of the
Case 1:18-cv-03713-TWP-MJD Document 42 Filed 12/18/18 Page 2 of 3 PageID #: 617



 Court’s December 6, 2018 Amended Scheduling Order. [Dkt. 31 at 2.] To facilitate that

 production, the Court will sua sponte enter a protective order by separate order.

        At or before 4:00 p.m. (Eastern) on Friday, December 21, 2018, Plaintiff may file

 supplemental witness and exhibit lists (as required by paragraphs 4 and 5 of the Court’s

 December 6, 2018 Amended Scheduling Order [Dkt. 31 at 2]) to the extent such lists require

 amendment based upon the additional information produced; paragraph 8 of the Court’s

 December 6, 2018 Amended Scheduling Order [Dkt. 31 at 3] is hereby amended to confirm that

 witnesses and/or exhibits disclosed in Plaintiff supplemental witness and exhibit lists filed

 pursuant to this order may be offered as part of the parties’ evidentiary submission.

        At or before 4:00 p.m. (Eastern) on Friday, December 21, 2018, Plaintiff may also

 serve additional and/or amended affidavits and/or verified declarations (as required by paragraph

 7 of the Court’s December 6, 2018 Amended Scheduling Order [Dkt. 31 at 2-3]) to the extent

 such documents require amendment or supplementation based upon the additional information

 produced. Such documents shall be served as set forth in paragraph 3 of the Court’s December

 6, 2018 Amended Scheduling Order [Dkt. 31 at 2], for receipt by counsel for Defendant at or

 before 4:00 p.m. (Eastern) on Friday, December 21, 2018.

        SO ORDERED.



        Dated: 18 DEC 2018
Case 1:18-cv-03713-TWP-MJD Document 42 Filed 12/18/18 Page 3 of 3 PageID #: 618




 Distribution:

 Service will be made electronically
 on all ECF-registered counsel of record via
 email generated by the court’s ECF system.
